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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                         )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10            v.                                        )         2:10-CR-356-LDG (LRL)
                                                        )
11    CARSON WINGET,                                    )
                                                        )
12                          Defendant.                  )

13
                                         ORDER OF FORFEITURE
14

15            On May 20, 2011, defendant CARSON WINGET pled guilty to Count One of a Three-Count

16    Criminal Superseding Indictment charging him in Count One with Conspiracy to Commit Wire Fraud,

17    Mail Fraud, and Bank Fraud in violation of Title 18, United States Code, Section 1349 and agreed

18    to the forfeiture of property set forth in the Forfeiture Allegations in the Criminal Superseding

19    Indictment and agreed to in the Plea Memorandum. Docket #60, #125.

20            This Court finds that CARSON WINGET shall pay a criminal forfeiture money judgment of

21    $490,000.00 in United States Currency to the United States of America, pursuant to Fed. R. Crim.

22    P. 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

23    Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(A).

24    ...

25    ...

26    ...
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 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
 2    States recover from CARSON WINGET a criminal forfeiture money judgment in the amount of
 3    $490,000.00 in United States Currency.
 4    DATED this ______ day of __________________, 2011.
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 7                                             UNITED STATES DISTRICT JUDGE
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